Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page1of51
BRENDA K. BAUMGART, OSB No. 992160
brenda.baumgart@stoel.com
THOMAS R. JOHNSON, OSB No. 010645
tom.johnson@stoel.com
SOPHIE SHADDY-FARNSWORTH, OSB No. 205180
sophie.shaddy-farnsworth@stoel.com
ALEX VAN RYSSELBERGHE, OSB No. 174836
alex.vanrysselberghe@stoel.com
STOEL RIVES LLP
760 SW Ninth Avenue, Suite 3000
Portland, OR 97205
Telephone: 503.224.3380
Attorneys for Defendant
UNITED STATES DISTRICT COURT
DISTRICT OF OREGON
PORTLAND DIVISION
ANTONIA IVANOVA, an Individual, Case No.: 3:24-cv-01254-AB
Plaintiff, DECLARATION OF SOPHIE SHADDY-
FARNSWORTH IN SUPPORT OF
Vv. DEFENDANT OREGON HEALTH AND
SCIENCE UNIVERSITY’S REPLY TO
OREGON HEALTH AND SCIENCE MOTION TO STRIKE ALLEGATIONS
UNIVERSITY, an independent public FROM PLAINTIFF’S FIRST AMENDED
corporation, COMPLAINT AND/OR PARTIAL
MOTION TO DISMISS
Defendant.

I, Sophie Shaddy-Farnsworth, do hereby declare and say:

1. I am an attorney licensed to practice law in the state of Oregon and one of the

attorneys representing Defendant Oregon Health and Science University (“OHSU”) in the above-

captioned litigation. I make this Declaration based on my own personal knowledge.

Page 1 -DECLARATION OF SOPHIE SHADDY-FARNSWORTH ISO DEFENDANT’S
REPLY TO MOTION TO STRIKE AND/OR PARTIAL MOTION TO DISMISS

127063390.2 0027345-00131
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 2of51

2. OHSU filed its Motion on November 19, 2024. (Dkt. 17.) That afternoon, and
within an hour of learning that my office would be seeking an order to show cause and sanctions
against Plaintiffs counsel for similar misconduct in another case pending before the Court
(Matthews v. Legacy Health, No. 6:24-cv-00592-MC), Plaintiff's counsel sent an email
containing proposed drafts of a second amended complaint in this case (“Proposed SAC”) and
another pending case, Zhomas v. OHSU, No. 3:24-cv-01098-SB—providing insufficient time for
thorough review and conferral.

3. Later that week, OHSU counsel reviewed the Proposed SAC and noted that it still
did not comport with the parties’ agreement. Specifically, although counsel removed most of the
allegations in the FAC related to the dismissed claims for wrongful termination (FAC § 24.1),
wrongful reduction in pay (FAC § 13), and disparate treatment and/or disparate impact (FAC 9
9-11, 24.2, 24.3), as well as allegations referencing unlawful access of vaccine records (FAC §
13) and an employer “being on notice” of potential class claims when it receives a single EEOC
complaint (FAC 4 3-4), the Proposed SAC still contained allegations referencing Plaintiff’s
dismissed state law claims under ORS 659A.030 (Proposed SAC §[ 27.5), claims for retaliation
(Proposed SAC 4 10) and claims for disparate treatment/disparate impact (Proposed SAC §
27.5). On November 25, 2024, I sent Plaintiff's counsel a redlined copy of the Proposed SAC
reflecting the additional changes needed and requested that Plaintiff's counsel send me a final,
clean version of the Proposed SAC for review and approval before filing to avoid further
burdening the Court. (A copy of the relevant emails and the attachments (including the Proposed
SAC and OHSU’s redlines to the Proposed SAC) is attached as Exhibit 1.)

4. On November 27, 2024, Plaintiff's counsel sent me a clean and revised copy of

the Proposed SAC and OHSU’s counsel approved the Proposed SAC for filing. On December 2,

Page 2 -DECLARATION OF SOPHIE SHADDY-FARNSWORTH ISO DEFENDANT’S

REPLY TO MOTION TO STRIKE AND/OR PARTIAL MOTION TO DISMISS
127063390.2 0027345-00131
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 3of51

2024, Plaintiff’s counsel filed the SAC (Dkt. 19); however, counsel’s submission did not comply
with Federal Rule of Civil Procedure 15, as Plaintiff neither sought the Court’s leave nor
indicated that OHSU consented to the filing of the SAC. See FRCP 15(a)(1)-(2) (“A party may
amend its pleading once as a matter of course,” and any additional amendments require “the
opposing party’s written consent or the court’s leave.”’).

5. Plaintiffs deadline to respond to OHSU’s Motion was December 3, 2024.
Plaintiff filed her Response on December 3, but did not enter the transaction into CM/ECF until
12:09 a.m. on December 4. (See Dkt. 20; a copy of the Notice of Electronic Filing sent to
defense counsel is attached as Exhibit 2.) Later that day, the Court issued an order striking the
SAC for failure to comply with Rule 15(a)(2) and sua sponte granting Plaintiff “a one-day
extension of time to file her response to Defendant’s pending motion to dismiss and/or strike,
and accepts the response filed on December 4, 2024, as timely.” (Dkt. 21.)

6. Shortly thereafter, Plaintiff's counsel contacted me and requested that OHSU
prepare and file a Notice of Consent to the SAC. OHSU counsel told Plaintiff’s counsel that it
was Plaintiffs obligation to correct any deficiencies with her filing and declined to fix counsel’s
pleading for them. Plaintiff then sent me a draft pleading titled “Joint Notice of Defendant’s
Consent to Filing of the SAC,” which included a sentence asserting that “[b]ecause the parties
have reached an agreement, the Motion to Strike and Dismiss is now moot.” I responded to
Plaintiffs counsel and explained that OHSU did not agree to a joint filing with Plaintiff but that
Plaintiff's counsel may represent to the Court that the parties have conferred about the SAC and
OHSU consents to it. I also informed Plaintiff's counsel that OHSU disagreed with their
assertion in the draft Joint Notice that OHSU’s consent to the filing of the SAC moots its

Motion. (A copy of the relevant emails and the attachments is attached as Exhibit 3.)

Page 3 -DECLARATION OF SOPHIE SHADDY-FARNSWORTH ISO DEFENDANT’S

REPLY TO MOTION TO STRIKE AND/OR PARTIAL MOTION TO DISMISS
127063390.2 0027345-00131
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 4of51

7. On December 5, without requesting an extension of time or otherwise obtaining
leave of court, Plaintiff untimely filed an “Amended Response” to OHSU’s Motion (Dkt. 22),
raising entirely new issues and legal arguments that were not raised in the original Response
(Dkt. 20). To date, Plaintiff's counsel continues to refuse to prepare and file an operative
pleading that accurately reflects the parties’ agreement and does not contain frivolous claims and
immaterial allegations.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

DATED: December 27, 2024.

/s/ Sophie Shaddy-Farnsworth

SOPHIE SHADDY-FARNSWORTH, OSB No. 205180
Attorney for Defendant Oregon Health and Science
University

Page 4 -DECLARATION OF SOPHIE SHADDY-FARNSWORTH ISO DEFENDANT’S

REPLY TO MOTION TO STRIKE AND/OR PARTIAL MOTION TO DISMISS
127063390.2 0027345-00131
Case 3:24-cv-01254-AB Document 28 ~ Filed 12/27/24 Page 5of51

Dern, Debbie L.

From: Paul Janzen <paul@ruggedlaw.com>

Sent: Tuesday, November 19, 2024 2:45 PM

To: Shaddy-Farnsworth, Sophie; Caroline Janzen

Cc: Baumgart, Brenda K.; Johnson, Tom R.; Dern, Debbie L.; Sarah Vowles

Subject: RE: lvanova/OHSU & Thomas/OHSU - proposed amended complaints

Attachments: Ivanova 2nd Amended Complaint - Final redline PRAJ.docx; Thomas 2nd Amended Complaint for

Damages PRAJ.docx

Follow Up Flag: Follow up
Flag Status: Flagged

| believe these new updated amended complaints address the concerns you have outlined in your email.
Please advise if they are sufficient and | will get them filed.

Sincerely,
Paul Janzen
Attorney at Law, OR Bar #176240

Rugged Law, Inc.

Paul Robert Armstrong Janzen, Esq.
503-520-9900

4550 SW Hall Blvd, Beaverton, OR 97005

This message may contain information protected by the attorney-client privilege. If you have received this
message in error, please notify the sender and delete it immediately.

From: Shaddy-Farnsworth, Sophie <sophie.shaddy-farnsworth@stoel.com>

Sent: Tuesday, November 12, 2024 1:10 PM

To: Caroline Janzen <caroline@ruggedlaw.com>; Paul Janzen <paul@ruggedlaw.com>

Cc: Baumgart, Brenda K. <brenda.baumgart@stoel.com>; Johnson, Tom R. <tom.johnson@stoel.com>; Dern, Debbie L.
<debbie.dern@stoel.com>

Subject: lvanova/OHSU & Thomas/OHSU - proposed amended complaints

Hi Caroline and Paul,

I’m following up regarding the proposed amended complaints in lvanova and Thomas. Attached are the redline
complaints you sent on Friday, along with some of our previous correspondence on this issue, which impacts
numerous pending cases against OHSU. In short, the parties agreed that Plaintiffs would dismiss all state law
claims and non-failure-to-accommodate claims in COVID-19 vaccine cases against OHSU, to the extent other
claims had been asserted. The non-failure-to-accommodate claims included a variety of theories that varied
slightly depending on the case, such as hostile work environment, disparate treatment, disparate impact, pattern
and practice discrimination, and wrongful reduction in pay.

EXHIBIT 1
Page 1 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 6of51

To memorialize dismissal of these claims, a second amended complaint needs to be filed. However, the draft and
filed amended complaints you have sent us to date do not delete the allegations concerning the now-dismissed
claims. Instead, they contain new allegations and continue to reference theories that Plaintiff has agreed to
dismiss. This creates significant confusion for the parties (given that the complaint frames the issues for both
discovery and trial) and leads to unnecessary and protracted motions practice, which we do not believe is an
efficient use of the Court’s resources. We have conferred about this during several phone calls over the past few
weeks. | have made a list of the issues regarding these two complaints (Ivanova and Thomas) below.

During our call on Friday, you agreed to file second amended complaints removing new allegations that were not
included in the original complaints by no later than Thursday, November 14. We can confer again, but we will not
redline the complaints. As the complaints currently stand, we will file motions to dismiss. Our current deadline to
respond to the first amended complaints is next Tuesday, November 19. Please let us know if you intend to file
second amended complaints in these cases by tomorrow.

Thanks,
Sophie

Ivanova

e Paragraphs 3 and 4-asserts allegations regarding an employer being “on notice of claims that could
impact an entire group of employees” when it receives an individual’s EEOC complaint, which does not
appear relevant to this single-plaintiff case where Plaintiff (as alleged in paragraph 2) did, in fact, file an
EEOC complaint.

e Paragraphs 9-11 -reference disparate treatment claim that is no longer being asserted.

e Paragraph 13 -references wrongful reduction in pay claim that is no longer being asserted.

e Paragraph 14 -references retaliation claim that is no longer being asserted and allegedly unlawful access
to vaccine records.

e Paragraph 31.1 -—continues to assert “wrongful termination” (disparate treatment) claim and includes new
allegations regarding animus toward “Plaintiff’s religious beliefs and practices...”

e 31.2-asserts allegations regarding denial of exception requests “based on content and viewpoint” which
is which is not relevant to a failure-to-accommodate claim. Also asserts allegations related to disparate
treatment.

e 31.3-same as 31.2.

e 31.7 -asserts allegation regarding animus and similarly situated employees, which is not relevant to a
failure-to-accommodate claim.

e 31.9-asserts allegations regarding animus.

Thomas

e Paragraphs 3 and 4-asserts allegations regarding an employer being “on notice of claims that could
impact an entire group of employees” when it receives an individual’s EEOC complaint, which does not
appear relevant to this single-plaintiff case where Plaintiff (as alleged in paragraph 2) did, in fact, file an
EEOC complaint

e Paragraphs 9-11 -reference disparate treatment claim that is no longer being asserted

e Paragraph 13 -references wrongful reduction in pay claim that is no longer being asserted

e Paragraph 14 -references retaliation claim that is no longer being asserted and allegedly unlawful access
to vaccine records

e Paragraph 17 —new allegation that did not appear in original complaint — “Receiving a COVID 19 vaccine
would be directly participating in the killing of innocent humans which is in direct conflict with her beliefs."

e Paragraph 24.1 —references failure-to-accommodate claim under “Oregon law” that is no longer being
asserted.

EXHIBIT 1
Page 2 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 7 of 51

Sophie Shaddy-Farnsworth | Attorney

STOEL RIVES LLP | 760 SW Ninth Ave, Suite 3000 | Portland, OR 97205
Direct: (503) 294-9495 | Mobile: (907) 830-2898
sophie.shaddy-farnsworth@stoel.com | Bio | vCard | www.stoel.com

@ Stoel Rives.

This email may contain material that is confidential, privileged, and/or attorney work product for the sole use of
the intended recipient. Any unauthorized review, use, or distribution is prohibited and may be unlawful.

EXHIBIT 1
Page 3 of 37
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 8of51

Caroline Janzen, OSB #176233
caroline@ruggedlaw.com

Paul Janzen, OSB #176240
paul@ruggedlaw.com

Rugged Law, Inc.

4550 SW Hall Blvd
Beaverton, OR 97005

Phone: 503-520-9900

Of Attorneys for Plaintiff

IN THE FEDERAL DISTRICT COURT
FOR THE DISTRICT OF OREGON

PORTLAND DIVISION
ANTONIA IVANOVA, an Individual, Case No. 3:24-cv-01254-AB
Plaintiff, FRSFESECOND AMENDED
COMPLAINT FOR DAMAGES
V. (EMPLOYMENT DISCRIMINATION)

OREGON HEALTH AND _ — SCIENCE} NOT SUBJECT TO MANDATORY
UNIVERSITY, an independent public} ARBITRATION

corporation,
JURY TRIAL REQUESTED

Defendant.

Plaintiff, through counsel, comes before the Court to file this Complaint for Damages

against the above-named Defendant. In support of this Complaint, Plaintiff alleges as follows:
INTRODUCTION

This case centers around the Plaintiff, a former employee of Defendant Oregon Health and
Science University (“OHSU”), and the unlawful religious or medical discrimination she suffered
because of her conflict with taking the COVID-19 vaccine and the Defendant’s refusal to offer
reasonable accommodations for the same.

JURISDICTION, VENUE, AND PARTIES
1.
Venue for this action is proper in the District of Oregon. The Plaintiff is a former employee

of the Defendant who worked for OHSU remotely, working from her home in Hillsboro, Oregon.

Rugged Law, Inc.

Page 1 -HIRSF SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 4 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page9of51

Defendant is a public corporation incorporated in, and with a principal place of business, in
Multnomah County, Oregon. The OHSU Board of Directors, whose members are appointed by
the State Senate, governs the university. As a public corporation, it receives state and federal
funding.
2.
Plaintiff has exhausted her administrative remedies through the U.S. Equal Employment
Opportunity Commission and is bringing this Complaint within the 90-day time limit allocated to

her by statute. On May 3, 2024, Plaintiff received a 90 day right to sue letter, making her deadline

to file suit August 1, 2024. Thus, this lawsuit is timely filed.

Rugged Law, Inc.
Page 2 -HIRSF SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 5 of 37
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 10of51

34.

Plaintiff seeks a jury trial for all claims that can be tried to a jury under federal law.

STATEMENT OF FACTS
6-5.

As described in greater detail below, Plaintiff worked for an OHSU facility during the
COVID-19 pandemic, which began in March of 2020. Plaintiff was an exceptional employee and
worked fully remotely from home.

+6.

In the summer of 2021, the Defendant imposed a vaccine mandate on its employees.
Consistent with state and federal law, employees with religious convictions anathema to the
vaccine, or who had medical conditions inconsistent with the vaccine, had the right to apply for
religious or medical exceptions to the vaccine.

&7.
Plaintiff held sincere and profound religious belief which prevented her from being able

to take the available COVID-19 vaccines. Her religious beliefs were in direct conflict with taking

the COVID-19 vaccine.

Rugged Law, Inc.
Page 3 -HIRSF SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 6 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 11of51

OHSU’s claims of undue burden are also belied by the fact that OHSU terminated

employees who submitted religious exemptions and worked remotely, some even in different
states than Oregon.
413-9.

OHSU not only failed to provide reasonable accommodation to its employees who sought

exemptions from the COVID-19 vaccine mandate, it also placed them on unpaid administrative

leave for a significant amount of time-resultine+n-aawreneful reductionin-_pay-_durite theme
that relisious-empleyeesswere-placedon-anpaidieave. During this time, OHSU used the financial

pressure imposed by its unpaid leave to try to force religious employees to get vaccinated, despite
their sincere religious convictions. The time period on unpaid leave often meant that employees
could not get a new job because they were still technically employed, even though OHSU quickly
cut off most employee benefits.
tal.
OHSU retaliated against its employees who were engaged in a lawful process of filing

religious exemptions by ignoring the process suggested by the EEOC, which states that sincerity

of religious beliefs should be presumed. Jastead-OHSU-—untewfal- accessed --aceation records

Rugged Law, Inc.
Page 4 -HRSFSECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 7 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 12 of 51

to-anyeneswhe-had everrecerredaraceineas-anadelH—OHSU did not conduct a follow-up inquiry

with the religious employees that had previously taken a vaccine to see if their religious beliefs
had changed or whether they had specific religious objections to the COVID-19 vaccines that they
did not have when it came to previous vaccines, as the EEOC suggests. Instead, OHSU simply
denied the exemptions without further investigation.

aoe.

When OHSU finally chose to terminate those religious employees who still had not taken
the vaccine after weeks of unpaid leave, many employees could not find jobs, because other
regional hospitals had enacted similar policies. Religious hospital employees with specialized jobs
often had difficulty finding new employment after termination. Some had to move out of state or
change professions entirely. OHSU’s decision to terminate religious employees caused significant
financial hardship and emotional trauma to those employees on a massive scale.

46-12.

Plaintiff was hired by OHSU in 2020 as a PAS Resource Specialist in the Ambulatory
Access Services department. The only time that Plaintiff went to the OHSU campus was on her
first day, when she picked up her equipment. She worked from home full-time with no direct
contact with patients or her coworkers.

+413.

Plaintiff applied for a religious exemption from the vaccine four times, as the forms kept
changing, and she was required to complete new forms. Plaintiff explained to OHSU in her
exemption request that she sincerely held religious beliefs that prevent her from obtaining any
vaccine, not just the COVID vaccine. She explained that her body belongs to God and is the temple
of the Holy Spirit, “Do you not know that your bodies are temples of the Holy Spirit, who is in
you, whom you have received from God? You are not your own; you were bought at a price.

Therefore, honor God with your bodies” 1 Corinthians 6:19-20. Plaintiff further explained that

she had come to understand that the manufacturers of the COVID vaccines used aborted fetal cell

Rugged Law, Inc.

Page 5 -HIRSF SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 8 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 13 of 51

lines in their testing and development. Plaintiffs faith and beliefs prohibit the participation in
abortion no matter the time of the abortion, and it is against her beliefs to commit a sin. Plaintiff
informed OHSU that she had been a devoted Christian since her birth in Bulgaria and as an adult
she had developed her religious beliefs with Evangelism and deepened her relationship with God.
Plaintiff requested that she be given an exemption from the vaccine and stated that she would
always wear a mask and social distance when outside of her home, but that she worked remotely.
Plaintiff was placed on unpaid leave on October 19, 2021, and received her exemption denial from
OHSU on October 25, 2021. She was subsequently terminated, even though she worked entirely
remotely from home.
48.14.

Due to Defendant’s unlawful actions, Plaintiff suffered mental and emotional distress,
including a great deal of stress and anxiety. Although she was able to obtain other employment
with another hospital system, where her religious exemption was accepted and she was allowed
to work, the job paid less, and had less generous benefits. Plaintiff has incurred economic damages

of at least $215,147.00 and non-economic damages of $450,000.00 or in an amount to be

determined at trial.

49-15.

Rugged Law, Inc.
Page 6 -HIRSF SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 9 of 37
Case 3:24-cv-01254-AB Document 28 - Filed 12/27/24 Page 14 of 51

Rugged Law, Inc.
Page 7 -HRSFSECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 10 of 37
Case 3:24-cv-01254-AB Document 28 ~ Filed 12/27/24 Page 15 of 51

Rugged Law, Inc.
Page 8 -HIRSF-SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 11 of 37
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 16 of 51

Rugged Law, Inc.
Page 9 -HIRSF-SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 12 of 37
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page17 of 51

Rugged Law, Inc.
Page 10 -ERRSF SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 13 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 18 of 51

FIRST SECOND CLAIM FOR RELIEF
(Unlawful Discrimination in Contravention of Title VII of the Civil Rights Act —
42 U.S.C. §2000e et seq.)

Plaintiff realleges all paragraphs above and below as if fully set forth herein.
2423.
Plaintiff is a member of a protected class on the basis of her devout and sincerely held
religious belief in the tenets of Christianity.
28-24.
The Plaintiffs sincerely held religious beliefs conflicted with the Defendant’s COVID-19
vaccine mandate.
29-25.
When Plaintiff requested a religious exception to the Defendant’s COVID-19 vaccine
mandate, the Defendant failed to make a good faith effort to recognize and accommodate

Plaintiff’s religious beliefs.
30-26.

Instead of finding reasonable accommodation or set of accommodations for her religious
beliefs, the Defendant engaged in a series of adverse employment actions culminating in
Plaintiffs unlawful termination. The unlawful discrimination against Plaintiff’s religious beliefs
by Defendant as outlined above was a proximate cause of Plaintiff’s wrongful termination.

34:27.

Defendant’s violations of Title VI are more specifically described as follows:

Rugged Law, Inc.

Page 11 -HRSFSECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 14 of 37
Case 3:24-cv-01254-AB Document 28 ~ Filed 12/27/24 Page 19 of 51

Rugged Law, Inc.
Page 12 - HRSFSECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 15 of 37
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 20 of 51

Rugged Law, Inc.
Page 13 - EH RSFSECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 16 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 21o0f51

+5.Failure to provide reasonable accommodation. Defendant failed to engage in an interactive
process to reasonably accommodate the Plaintiffs requests for a religious exemption in
violation of Title VII and the corresponding provisions of Oregon law. Even though
Defendant could have simply and safely permitted the Plaintiffs to continue working under
a religious exemption with an N95 mask, weekly testing, remote work, or another
accommodation, Defendant summarily placed Plaintiff and other similarly situated
employees who filed religious exemptions on unpaid administrative leave, regardless of

the nature of their position and the level of risk they may have posed. Deferndantdid-not

cheel-aboxo-cbtain-a+elisieus-exemptien—OHSU also did not simply accept the OHA

Rugged Law, Inc.
Page 14 - BH RSFSECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 17 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 22 of 51

form. OHSU demanded a longer form, and implied a letter from a pastor or religious leader
was necessary, even though the OHA form did not require it. OHSU imposed a significant

amount of unnecessary onerous requirements in order to discourage religious employees

from completing all of the paperwork necessary to obtain an exemption. At +hese-peleies,

Rugged Law, Inc.
Page 15 - HRSFSECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 18 of 37
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 23 of 51

Plaintiff has incurred economic damages of at least $215,147.00 and non-economic

damages of $450,000.00, or an amount to be determined at trial. Plaintiff seeks punitive damages.

She also seeks her attorney fees under the provisions of Title VII.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff demands judgment against Defendant and seek the following
relief:
1. Judgment in favor of Plaintiff and against Defendant on all claims relevant to her in an
amount to be determined at trial.
2. Plaintiff seeks a trial by Jury on all claims to which Plaintiff is entitled to a jury trial.
3. Plaintiff's reasonable attorney fees, costs, and prevailing party fees.
4. Any other relief as the Court deems just and equitable.

DATED this 4+* 22nd day of Awgust October, 2024.

RUGGED LAW, INC.

By /s/ Caroline Janzen

Caroline Janzen, OSB No. 176233
Paul Janzen, OSB No. 176240
caroline@ruggedlaw.com

Of Attorneys for the Plaintiff

Rugged Law, Inc.
Page 16 -HRSF SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 1
Page 19 of 37
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 24 of 51

Dern, Debbie L.

From: Shaddy-Farnsworth, Sophie

Sent: Monday, November 25, 2024 7:03 PM

To: Caroline Janzen; Paul Janzen

Cc: Baumgart, Brenda K.; Dern, Debbie L.

Subject: lvanova/OHSU - proposed Second Amended Complaint [SR-ACTIVE.FID5906307]
Attachments: RE: lvanova/OHSU & Thomas/OHSU - proposed amended complaints; lvanova 2nd Amended

Complaint - Final redline PRAJ _SSF edits(126985381.1).docx

Caroline and Paul,

We’ve reviewed the proposed SAC in Ivanova that you sent in the attached email. Attached are our additional
changes in redline to the introduction and paragraphs 10 (previously 4 14) and 27.5 (previously 4] 31.7). The date
will also need to be updated.

Please send us a final, cleaned-up version reflecting these changes for our review by 5 pm on Wednesday,
November 27.

Thank you,
Sophie

Sophie Shaddy-Farnsworth | Attorney

STOEL RIVES LLP | 760 SW Ninth Ave, Suite 3000 | Portland, OR 97205
Direct: (503) 294-9495 | Mobile: (907) 830-2898
sophie.shaddy-farnsworth@stoel.com | Bio | vCard | www.stoel.com

@ Stoe! Rives.

This email may contain material that is confidential, privileged, and/or attorney work product for the sole use of
the intended recipient. Any unauthorized review, use, or distribution is prohibited and may be unlawful.

EXHIBIT 1
Page 20 of 37
Case 3:24-cv-01254-AB Document 28

Caroline Janzen, OSB #176233
caroline@ruggedlaw.com

Rugged Law, Inc.

4550 SW Hall Blvd
Beaverton, OR 97005
Phone: 503-520-9900

Of Attorneys for Plaintiff

IN THE FEDERAL DISTRICT COURT
FOR THE DISTRICT OF OREGON

PORTLAND DIVISION
ANTONIA IVANOVA, an Individual, Case No. 3:24-cv-01254-AB
Plaintiff, ERRSFESECOND AMENDED
COMPLAINT FOR DAMAGES
Vv. (EMPLOYMENT DISCRIMINATION)
OREGON HEALTH AND — SCIENCE] NOT SUBJECT TO MANDATORY
UNIVERSITY, an _ independent public] ARBITRATION
corporation,
JURY TRIAL REQUESTED
Defendant.

Plaintiff, through counsel, comes before the Court to file this Complaint for Damages

against the above-named Defendant. In support of this Complaint, Plaintiff alleges as follows:
INTRODUCTION

This case centers around the Plaintiff, a former employee of Defendant Oregon Health and
Science University (“OHSU”), and the unlawful religious e+-#2:ediealdiscrimination she suffered
because of her conflict with taking the COVID-19 vaccine and the Defendant’s refusal to offer
reasonable accommodations for the same.

JURISDICTION, VENUE, AND PARTIES
1.

Venue for this action is proper in the District of Oregon. The Plaintiff is a former employee

Rugged Law, Inc.
4550 SW Hall Blvd
Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

Page 1 -HRSESECOND AMENDED
COMPLAINT FOR DAMAGES

126985381.1 0027345-00128

Filed 12/27/24

Page 25 of 51

a {Field Code Changed

aa ( Formatted: English (United States)

- ‘{ Formatted: English (United States)

EXHIBIT 1
Page 21 of 37
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 26 of 51

of the Defendant who worked for OHSU remotely, working from her home in Hillsboro, Oregon.
Defendant is a public corporation incorporated in, and with a principal place of business, in
Multnomah County, Oregon. The OHSU Board of Directors, whose members are appointed by
the State Senate, governs the university. As a public corporation, it receives state and federal
funding.
2.

Plaintiff has exhausted her administrative remedies through the U.S. Equal Employment

Opportunity Commission and is bringing this Complaint within the 90-day time limit allocated to

her by statute. On May 3, 2024, Plaintiff received a 90 day right to sue letter, making her deadline

to file suit August 1, 2024. Thus, this lawsuit is timely filed.

Rugged Law, Inc.
Page 2 -HRSESECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 22 of 37
Case 3:24-cv-01254-AB Document 28 ~ Filed 12/27/24 Page 27 of 51

Plaintiff seeks a jury trial for all claims that can be tried to a jury under federal law.

STATEMENT OF FACTS
65.

As described in greater detail below, Plaintiff worked for an OHSU facility during the
COVID-19 pandemic, which began in March of 2020. Plaintiff was an exceptional employee and
worked fully remotely from home.

+6.

In the summer of 2021, the Defendant imposed a vaccine mandate on its employees.
Consistent with state and federal law, employees with religious convictions anathema to the
vaccine, or who had medical conditions inconsistent with the vaccine, had the right to apply for
religious or medical exceptions to the vaccine.

&Z
Plaintiff held sincere and profound religious belief which prevented her from being able

to take the available COVID-19 vaccines. Her religious beliefs were in direct conflict with taking

the COVID-19 vaccine.

Rugged Law, Inc.
Page 3 -HIRSF SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 23 of 37
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 28 of 51

28.

OHSU’s claims of undue burden are also belied by the fact that OHSU terminated
employees who submitted religious exemptions and worked remotely, some even in different
states than Oregon.

BY.
OHSU not only failed to provide reasonable accommodation to its employees who sought

exemptions from the COVID-19 vaccine mandate, it also placed them on unpaid administrative

leave for a significant amount of time—resukine+n-aavrensfil reduction in-pay_during the-time
thetrelhsious-employeessvere placed onimpaicteave. During this time, OHSU used the financial

pressure imposed by its unpaid leave to try to force religious employees to get vaccinated, despite
their sincere religious convictions. The time period on unpaid leave often meant that employees
could not get a new job because they were still technically employed, even though OHSU quickly

cut off most employee benefits.

+410
Rugged Law, Inc.
Page 4 -HRSESECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 24 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24

HSU did not conduct a follow-up inquiry
with the religious employees that had previously taken a vaccine to see if their religious beliefs
had changed or whether they had specific religious objections to the COVID-19 vaccines that they
did not have when it came to previous vaccines, as the EEOC suggests. Instead, OHSU simply
denied the exemptions without further investigation.

+L.

When OHSU finally chose to terminate those religious employees who still had not taken
the vaccine after weeks of unpaid leave, many employees could not find jobs, because other
regional hospitals had enacted similar policies. Religious hospital employees with specialized jobs
often had difficulty finding new employment after termination. Some had to move out of state or
change professions entirely. OHSU’s decision to terminate religious employees caused significant
financial hardship and emotional trauma to those employees on a massive scale.

46-12.

Plaintiff was hired by OHSU in 2020 as a PAS Resource Specialist in the Ambulatory
Access Services department. The only time that Plaintiff went to the OHSU campus was on her
first day, when she picked up her equipment. She worked from home full-time with no direct
contact with patients or her coworkers.

Plaintiff applied for a religious exemption from the vaccine four times, as the forms kept
changing, and she was required to complete new forms. Plaintiff explained to OHSU in her

exemption request that she sincerely held religious beliefs that prevent her from obtaining any

Rugged Law, Inc.
Page 5 -HRSFSECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

Page 29 of 51

EXHIBIT 1
Page 25 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24

vaccine, not just the COVID vaccine. She explained that her body belongs to God and is the temple
of the Holy Spirit, “Do you not know that your bodies are temples of the Holy Spirit, who is in
you, whom you have received from God? You are not your own; you were bought at a price.
Therefore, honor God with your bodies” 1 Corinthians 6:19-20. Plaintiff further explained that
she had come to understand that the manufacturers of the COVID vaccines used aborted fetal cell
lines in their testing and development. Plaintiffs faith and beliefs prohibit the participation in
abortion no matter the time of the abortion, and it is against her beliefs to commit a sin. Plaintiff
informed OHSU that she had been a devoted Christian since her birth in Bulgaria and as an adult
she had developed her religious beliefs with Evangelism and deepened her relationship with God.
Plaintiff requested that she be given an exemption from the vaccine and stated that she would
always wear a mask and social distance when outside of her home, but that she worked remotely.
Plaintiff was placed on unpaid leave on October 19, 2021, and received her exemption denial from
OHSU on October 25, 2021. She was subsequently terminated, even though she worked entirely
remotely from home.
+814.

Due to Defendant’s unlawful actions, Plaintiff suffered mental and emotional distress,
including a great deal of stress and anxiety. Although she was able to obtain other employment
with another hospital system, where her religious exemption was accepted and she was allowed
to work, the job paid less, and had less generous benefits. Plaintiff has incurred economic damages
of at least $215,147.00 and non-economic damages of $450,000.00 or in an amount to be

determined at trial.

Rugged Law, Inc.
Page 6 -HRSFSECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

Page 30 of 51

EXHIBIT 1
Page 26 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 31 of 51

Rugged Law, Inc.
Page 7 - HRSESECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 27 of 37
Case 3:24-cv-01254-AB Document 28 ~ Filed 12/27/24 Page 32 of 51

Rugged Law, Inc.
Page 8 -HRSESECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 28 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 33 of 51

Rugged Law, Inc.
Page 9 - HRSESECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 29 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 34 o0f51

Rugged Law, Inc.
Page 10 - EHRSESECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 30 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 35 of 51

FIRST SECOND CLAIM FOR RELIEF
(Unlawful Discrimination in Contravention of Title VII of the Civil Rights Act —
42 U.S.C. §2000e et seq.)

Plaintiff realleges all paragraphs above and below as if fully set forth herein.
2423.
Plaintiff is a member of a protected class on the basis of her devout and sincerely held
religious belief in the tenets of Christianity.
28:24.
The Plaintiffs sincerely held religious beliefs conflicted with the Defendant’s COVID-19
vaccine mandate.
29-25.
When Plaintiff requested a religious exception to the Defendant’s COVID-19 vaccine

mandate, the Defendant failed to make a good faith effort to recognize and accommodate

Rugged Law, Inc.
Page 11 - HRSE SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 31 of 37
Case 3:24-cv-01254-AB Document 28 ~ Filed 12/27/24 Page 36 of 51

Plaintiff's religious beliefs.
30-26.

Instead of finding reasonable accommodation or set of accommodations for her religious
beliefs, the Defendant engaged in a series of adverse employment actions culminating in
Plaintiffs unlawful termination. The unlawful discrimination against Plaintiff’s religious beliefs
by Defendant as outlined above was a proximate cause of Plaintiff's wrongful termination.

3427.

Defendant’s violations of Title VII are more specifically described as follows:

4 i434 14 4 a foiling too mm odate th
wronefulldenyine Plaintiffs +elicious—exempton—and + +ehihs +6 —acconHHedate—tht

Rugged Law, Inc.
Page 12 —- EERSESECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 32 of 37
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 37 of 51

people-whe had relisious beliefs and practices dto-takine COVID-19- vaccines ted
trees oppesedte takin VID-19-vaceines used

Rugged Law, Inc.
Page 13 - HRSE SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 33 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 38 of 51

Rugged Law, Inc.
Page 14—- ERRSE SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 34 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 39 of 51

45.Failure to provide reasonable accommodation. Defendant failed to engage in an interactive
process to reasonably accommodate the Plaintiffs requests for a religious exemption in

violation of Title VII

. Even though

Defendant could have simply and safely permitted the Plaintiffs to continue working under

a religious exemption with an N95 mask, weekly testing, remote work, or another

accommodation, Defendant summarily placed Plaintiff and—ether—similarhsituated

employeesavheled +elsious-exemptions-on unpaid administrative leave, regardless of
the nature of Plaintiffstkeie position and the level of risk shethey may have posed.

neededte-simplh-cheekaboxte-obtait-arelsious-exemption—OHSU also did not simply
accept the OHA form. OHSU demanded a longer form, and implied a letter from a pastor

or religious leader was necessary, even though the OHA form did not require it. OHSU
imposed a significant amount of unnecessary onerous requirements in order to discourage
religious employees from completing all of the paperwork necessary to obtain an

exemption.

Rugged Law, Inc.
Page 15 - HRSE SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 35 of 37
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 40 of 51

Plaintiff has incurred economic damages of at least $215,147.00 and non-economic

damages of $450,000.00, or an amount to be determined at trial. Plaintiff seeks punitive damages.

She also seeks her attorney fees under the provisions of Title VII.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff demands judgment against Defendant and seek the following
relief:

1. Judgment in favor of Plaintiff and against Defendant on all claims relevant to her in an

Rugged Law, Inc.
Page 16 —- EHRSEF SECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 36 of 37
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 41 of 51

amount to be determined at trial.
2. Plaintiff seeks a trial by Jury on all claims to which Plaintiff is entitled to a jury trial.
3. Plaintiffs reasonable attorney fees, costs, and prevailing party fees.

4. Any other relief as the Court deems just and equitable.

DATED this 4 22nd day of Avgust October, 2024. | a {Commented [S81]: Undate

RUGGED LAW, INC.

By /s/ Caroline Janzen

Caroline Janzen, OSB No. 176233
Paul Janzen, OSB No. 176240
caroline@ruggedlaw.com

Of Attorneys for the Plaintiff

Rugged Law, Inc.
Page 17 - HRSFSECOND AMENDED 4550 SW Hall Blvd
COMPLAINT FOR DAMAGES Beaverton, Oregon 97005

Office: 503-520-9900; Fax: 503-479-7999
126985381.1 0027345-00128

EXHIBIT 1
Page 37 of 37
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 42 of 51

Dern, Debbie L.

From: info@ord.uscourts.gov

Sent: Wednesday, December 4, 2024 12:10 AM

To: nobody@ord.uscourts.gov

Subject: Activity in Case 3:24-cv-01254-AB Ivanova v. Oregon Health and Science University Response in

Opposition to Motion

This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to
this e-mail because the mail box is unattended.

*** NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits
attorneys of record and parties in a case (including pro se litigants) to receive one free electronic copy of
all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees
apply to all other users. To avoid later charges, download a copy of each document during this first
viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not

apply.
U.S. District Court
District of Oregon
Notice of Electronic Filing

The following transaction was entered by Janzen, Paul Robert on 12/4/2024 at 0:09 AM PST and filed on
12/3/2024

Case Name: Ivanova v. Oregon Health and Science University
Case Number: 3:24-cv-01254-AB
Filer: Antonia Ivanova

Document Number: 20

Docket Text:

Response in Opposition to Motion to Strike and/or Partial Motion to Dismiss Amended
Complaint[13][17]. Filed by All Plaintiffs. (Janzen, Paul Robert)

3:24-cv-01254-AB Notice has been electronically mailed to:

Alex Van Rysselberghe alex.vanrysselberghe@stoel.com, docketclerk@Stoel.com, jen.barrios@stoel.com

Brenda K. Baumgart _ brenda.baumgart@stoel.com, docketclerk@stoel.com, kristi.axelson@stoel.com

Caroline Janzen _caroline@ruggedlaw.com, jazmin@ruggedlaw.com, jls@ruggedlaw.com,
molly@ruggedlaw.com, notices@ruggedlaw.com, sarah@ruggedlaw.com, zach@ruggedlaw.com

Madeleine Sophie Shaddy-Farnsworth —sophie.shaddy-farnsworth@stoel.com, debbie.dern@stoel.com
docketclerk@stoel.com

2

EXHIBIT 2
Page 1 of 2
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 43 of 51

Paul Robert Armstrong Janzen paul@ruggedlaw.com, 5188856420@filings.docketbird.com,
caroline@ruggedlaw.com, jls@ruggedlaw.com, molly@ruggedlaw.com, notices@ruggedlaw.com

Thomas R. Johnson tom.johnson@stoel.com, docketclerk@stoel.com, jen.barrios@stoel.com

3:24-cv-01254-AB Notice will not be electronically mailed to:
The following document(s) are associated with this transaction:

Document description: Main Document

Original filename:Not Available

Electronic document Stamp:

[STAMP ordStamp_ ID=875559790 [Date=12/4/2024] [FileNumber=8780445-0] [
22dba2b00cd9d8889656239f0f5cf0a0e28b5 8af2b532377238cdbd8bfa7cb5c0eed6f
a26030545658b948cf58760c46b790dfe24ef826e6453cf06552c6dc3 lal]

EXHIBIT 2
Page 2 of 2
Case 3:24-cv-01254-AB Document 28 ~ Filed 12/27/24 Page 44 of 51

From: Shaddy-Farnsworth, Sophie

To: Paul Janzen

Cc: Baumaart, Brenda K.

Subject: RE: Activity in Case 3:24-cv-01098-SB Thomas v. Oregon Health and Sciences University Notice [SR-
ACTIVE.FID5906307]

Date: Thursday, December 5, 2024 9:20:43 AM

Attachments: image001.png
image003.pnq

Hi Paul,

It is plaintiff’s obligation to handle this filing. Please prepare a filing and send it to us for
approval before it is submitted to the Court.

Thank you,

Sophie

Sophie Shaddy-Farnsworth | Attorney

STOEL RIVES LLP | 760 SW Ninth Ave, Suite 3000 | Portland, OR 97205

Direct: (503) 294-9495 | Mobile: (907) 830-2898
sophie.shaddy-farnsworth@stoel.com | Bio | vCard | www.stoel.com

This email may contain material that is confidential, privileged, and/or attorney work product
for the sole use of the intended recipient. Any unauthorized review, use, or distribution is
prohibited and may be unlawful.

From: Paul Janzen <paul@ruggedlaw.com>

Sent: Wednesday, December 4, 2024 9:52 PM

To: Shaddy-Farnsworth, Sophie <sophie.shaddy-farnsworth@stoel.com>

Subject: FW: Activity in Case 3:24-cv-01098-SB Thomas v. Oregon Health and Sciences University
Notice

Dear Sophie,
Can you file the same thing in the Ivanova case so I can re-file the second amended complaint?

Sincerely,
Paul Janzen

Attorney at Law, OR Bar #176240
Rugged Law, Inc.

Paul Robert Armstrong Janzen, Esq.
503-520-9900
4550 SW Hall Blvd, Beaverton, OR 97005

EXHIBIT 3
Page 1 of 8
Case 3:24-cv-01254-AB Document 28 ~ Filed 12/27/24 Page 45 of 51

This message may contain information protected by the attorney-client privilege. If you have
received this message in error, please notify the sender and delete it immediately.

From: info@ord.uscourts.gov <info@ord.uscourts.gov>
Sent: Tuesday, December 3, 2024 3:31 PM

To: nobody@ord.uscourts. gov
Subject: Activity in Case 3:24-cv-01098-SB Thomas v. Oregon Health and Sciences University Notice

This is an automatic e-mail message generated by the CM/ECF system. Please DO
NOT RESPOND to this e-mail because the mail box is unattended.

***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States
policy permits attorneys of record and parties in a case (including pro se litigants) to
receive one free electronic copy of all documents filed electronically, if receiptis
required by law or directed by the filer. PACER access fees apply to all other users.
To avoid later charges, download a copy of each document during this first viewing.
However, if the referenced document is a transcript, the free copy and 30 page limit
do not apply.

U.S. District Court

District of Oregon

Notice of Electronic Filing

The following transaction was entered by Shaddy-Farnsworth, Madeleine on 12/3/2024
at 3:30 PM PST and filed on 12/3/2024

Case Name: Thomas v. Oregon Health and Sciences University
Case Number: 3:24-cv-01098-SB
Filer: Oregon Health and Sciences University

Document Number: 17

Docket Text:

Notice re Amended Complaint[16] Defendant's Consent to Filing of Second Amended
Complaint Under FRCP 15(a)(2) Filed by Oregon Health and Sciences University.
(Related document(s): Amended Complaint[16].) (Shaddy-Farnsworth, Madeleine)

3:24-cv-01098-SB Notice has been electronically mailed to:

Alex Van Rysselberghe alex.vanrysselberghe@stoel.com, docketclerk@Stoel.com,

jen.barri toel.com

EXHIBIT 3
Page 2 of 8
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 46 of 51

Brenda Kk. Baumgart brenda.baumgart@stoel.com, docketclerk@stoel.com,
kristi.axelson@stoel.com

Caroline Janzen caroline@ruggedlaw.com, jazmin@ruggedlaw.com,

jls@ruggedlaw.com, molly@ruggedlaw.com, notices@ruggedlaw.com,

sarah@ruggedlaw.com, zach@ruggedlaw.com

Madeleine Sophie Shaddy-Farnsworth hie.sh -farnsworth@stoel.com,
debbie.dern@stoel.com, docketclerkK@stoel.com

Paul Robert Armstrong Janzen paul@ruggedlaw.com,
5188856420 @filings.docketbird.com, caroline@ruggedlaw.com, jls@ruggedlaw.com,

molly@ruggedlaw.com, notices@ruggedlaw.com

Thomas R. Johnson tom.johnson@stoel.com, docketclerkK@stoel.com,

jen. barri toel.com

3:24-cv-01098-SB Notice will not be electronically mailed to:

The following document(s) are associated with this transaction:

Document description:Main Document

Original filename:Not Available

Electronic document Stamp:

[STAMP ordStamp_ID=875559790 [Date=1 2/3/2024] [FileNumber=8780059-0] [
2e25fc9c1029ddaaef6ffb0a4a5ec1 190785701 76fa3965c2fb02a71c81b4478e570e4
7¢034f5cb087c98a286f6e0c62d5cbe701 244dbae48b4333703220657cc]]

EXHIBIT 3
Page 3 of 8
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 47 of 51

Dern, Debbie L.

From: Shaddy-Farnsworth, Sophie

Sent: Thursday, December 5, 2024 2:40 PM

To: Paul Janzen

Cc: Caroline Janzen; Baumgart, Brenda K.

Subject: RE: JOINT NOTICE OF DEFENDANT'S CONSENT TO FILING OF SAC [SR-ACTIVE.FID5906307]
Paul,

This is not a joint Notice. To be clear, we do not agree to join any submission by Plaintiff to the Court. Nor do we
agree to any representations by Plaintiff regarding when OHSU will respond to Plaintiff's amended pleading. You
may represent to the Court that Plaintiff’s counsel has conferred with OHSU’s counsel about the SAC and OHSU
consents to it. Our consent to the filing of the SAC does not moot our pending motion.

Thank you,

Sophie

Sophie Shaddy-Farnsworth | Attorney

STOEL RIVES LLP | 760 SW Ninth Ave, Suite 3000 | Portland, OR 97205
Direct: (503) 294-9495 | Mobile: (907) 830-2898
sophie.shaddy-farnsworth@stoel.com | Bio | vCard | www.stoel.com

@ Stoel Rives..

This email may contain material that is confidential, privileged, and/or attorney work product for the sole use of
the intended recipient. Any unauthorized review, use, or distribution is prohibited and may be unlawful.

From: Paul Janzen <paul@ruggedlaw.com>

Sent: Thursday, December 5, 2024 12:09 PM

To: Shaddy-Farnsworth, Sophie <sophie.shaddy-farnsworth@stoel.com>
Cc: Caroline Janzen <caroline@ruggedlaw.com>

Subject: JOINT NOTICE OF DEFENDANT’S CONSENT TO FILING OF SAC

Dear Sophie,
Attached is a proposed joint notice of Consent to Filing the SAC. Do I have permission to electronically sign on
your behalf and file? I intend to re-file the SAC as soon as I file this.

Sincerely,

Paul Janzen

Attorney at Law, OR Bar #176240
Rugged Law, Inc.

Paul Robert Armstrong Janzen, Esq.
503-520-9900

4550 SW Hall Blvd, Beaverton, OR 97005

EXHIBIT 3
Page 4 of 8
Case 3:24-cv-01254-AB Document 28 Filed 12/27/24 Page 48 of 51

This message may contain information protected by the attorney-client privilege. If you have received this
message in error, please notify the sender and delete it immediately.

EXHIBIT 3
Page 5 of 8
Case 3:24-cv-01254-AB Document 28 ~~ Filed 12/27/24 Page 49 of 51

Caroline Janzen, OSB #176233
caroline@ruggedlaw.com

Paul Janzen, OSB #176240
paul@ruggedlaw.com
RUGGED LAW, INC.

4550 SW Hall Blvd
Beaverton, OR 97005

Phone: 503-520-9900

Fax: 503-479-7999

Attorney for Plaintiffs
IN THE FEDERAL DISTRICT COURT
FOR THE DISTRICT OF OREGON
PORTLAND DIVISION
ANTONIA IVANOVA, an individual, Case No.: 3:24-cv-01254-AB
JOINT NOTICE OF DEFENDANT’S
Plaintiff, CONSENT TO FILING OF SECOND
AMENDED COMPLAINT UNDER FRCP
V. 15(a)(2) [Doc 23]

OREGON HEALTH AND SCIENCE
UNIVERSITY, an independent public
corporation,

Defendants.

RESPONSE
Pursuant to Federal Rule of Civil Procedure 15(a)(2), Defendant Oregon Health and
Science University (“OHSU”) submits this notice of its written consent to Plaintiff's Second
Amended Complaint (“SAC”) (Dkt. 23) removing all claims except Plaintiffs failure-to
accommodate claim under Title VII of the Civil Rights Act of 1964 (“Title VI’). Rule 15 allows
a plaintiff to “amend its pleading . . . with the opposing party’s written consent... .” Fed. R. Civ.
P. 15(a)(2). “Once the adverse party has consented to the amendment of a pleading,” the Court

need take no further action and “has no control over the matter under Rule 15(a).” Fern v. United

RUGGED LAW, INC.
4550 SW Hall Blvd
Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 3
Page 6 of 8

Page 1 — JOINT NOTICE OF DEFENDANT’S
CONSENT TO FILING OF SECOND AMENDED
COMPLAINT UNDER FRCP 15(a)(2) [Doc 23]
Case 3:24-cv-01254-AB Document 28 - Filed 12/27/24 Page 50 of 51

States, 213 F.2d 674, 677 (9th Cir. 1954); accord Williams v. Perdue, No. C19-0444-JCC, 2020
WL 5996431, at *1 (W.D. Wash. Oct. 9, 2020); Atlas v. Arnold, No. CV 15-01504 RSWL (RAO),
2016 WL 11521727, at *3 (C.D. Cal. Oct. 31, 2016).

Here, per the parties’ agreement, Plaintiff is filing herewith as document 23 a SAC
removing all claims except Plaintiff's failure-to-accommodate claim under Title VII. Plaintiff's
counsel has conferred with OHSU’s counsel about the amendment and OHSU consents to it.
Defendant will file an Answer to Plaintiff’s amended complaint within the time allowed under
Rule 15(a)(3).

Because the parties have reached an agreement, the Motion to Strike and Dismiss is now
moot.

DATED this 5th day of December, 2024.

Respectfully submitted:

/s| Paul Yauzen /s/ Sophie Shaddy-Farnsworth

Paul Janzen, OSB 176240 eee mite Bar No. 992160
paul@ruggedlaw.com aul

Caroline Janzen, OSB #176233 THOMAS R. JOHNSON, OSB No. 010645

. tom.johnson@stoel.com
caroline@ruggedlaw.com
4550 SW Hall Blvd SOPHIE SHADDY-FARNSWORTH, OSB No. 205180

Beaverton. OR 97005 sophie.shaddy-farnsworth@stoel.com
Phone: 503-520-9900 Telephone: 503.224.3380
: STOEL RIVES LLP

Att for Plaintiff:
omey for rtaintirts Attorneys for Defendant

CERTIFICATE OF SERVICE

I hereby certify that I served the pleading described above on all counsel of record on the

date set forth below, via the Court’s CM/ECF filing system.

DATED this 5th day of December, 2024.

RUGGED LAW, INC.
4550 SW Hall Blvd
Beaverton, Oregon 97005
Office: 503-520-9900; Fax: 503-479-7999

EXHIBIT 3
Page 7 of 8

Page 2 — JOINT NOTICE OF DEFENDANT’S
CONSENT TO FILING OF SECOND AMENDED
COMPLAINT UNDER FRCP 15(a)(2) [Doc 23]
Case 3:24-cv-01254-AB Document 28 ~ Filed 12/27/24 Page 51 of 51

Respectfully submitted:

/s/ Paul Yawzew

Paul Janzen, OSB 176240
paul@ruggedlaw.com
Caroline Janzen, OSB #176233
caroline@ruggedlaw.com

Of Attorneys for Plaintiffs

Page 3 — JOINT NOTICE OF DEFENDANT’S RUGGED LAW, INC.

CONSENT TO FILING OF SECOND AMENDED 4550 SW Hall Blvd

B 97005
COMPLAINT UNDER FRCP 15(a)(2) [Doc 23] Office: S03 er os0O, Fane 503-479-7999

EXHIBIT 3
Page 8 of 8
